      Case: 1:18-cv-05587 Document #: 53 Filed: 08/31/18 Page 1 of 3 PageID #:562



                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION
______________________________________
                                       )
UNITED STATES SECURITIES               )
AND EXCHANGE COMMISSION,               )
                                      )  Civil Action No. 18-CV-5587
                  Plaintiff,          )
          v.                          )
                                      )  Hon. John Z. Lee
EQUITYBUILD, INC.,                    )
EQUITYBUILD FINANCE, LLC,             )
JEROME H. COHEN, and                  )  Magistrate Judge Young B. Kim
SHAUN D. COHEN,                       )
                                      )
                  Defendants.          )
                                       )

                 NOTICE OF MOTION and CERTIFICATE OF SERVICE

TO:     See attached Service List

        Please take notice that on September 6, 2018, at 9:00 a.m., the undersigned will appear

before the Honorable John Z. Lee, or any judge sitting in his stead, in Courtroom 1225, and

present Receiver’s Motion For Court Approval Of The Rates To Be Charged By Receiver’s

Forensic Consultants.



Dated: August 31, 2018                             Kevin B. Duff, Receiver

                                            By:    / s/ Nicole Mirjanich
                                                    ?




                                                   Michael Rachlis
                                                   Nicole Mirjanich
                                                   Rachlis Duff Adler Peel & Kaplan, LLC
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    Case: 1:18-cv-05587 Document #: 53 Filed: 08/31/18 Page 2 of 3 PageID #:563



                               CERTIFICATE OF SERVICE
                               U




       I hereby certify that on August 31, 2018, I electronically filed the foregoing Notice and

Receiver’s Motion For Court Approval Of The Rates To Be Charged By Receiver’s

Forensic Consultants with the Clerk of the United States District Court for the Northern District

of Illinois, using the CM/ECF system. A copy of the Notice and the Motion were served via the

CM/ECF system upon counsel for the parties as identified on the attached Service List.



                                            U       /s/ Nicole Mirjanich

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                               SEC v. EquityBuild, Inc., et al.
                                  Case No. 18-CV-5587

                                      SERVICE LIST


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